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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                      Chapter 11
                           1
 USA GYMNASTICS,                                             Case No. 18-09108-RLM-11

                          Debtor.


                               NOTICE OF MOTIONS AND HEARING

          PLEASE TAKE NOTICE that on March 5, 2019, USA Gymnastics, as debtor and debtor

in possession in the above-captioned chapter 11 case (the “Debtor”), filed the following motions

(the “Motions”), which have been set for a hearing (the “Hearing”) on March 26, 2019 at 1:30

p.m. (Prevailing Eastern Time) in Room 329 of the United States Bankruptcy Court, 46 East

Ohio Street, Indianapolis, Indiana 46204:

          •   Debtor’s Motion For Authority To Enter Into Employment Agreement [Dkt. 319];

          •   Debtor’s Motion For Order Extending The Debtor’s Exclusive Periods To File And
              To Solicit Acceptances Of A Chapter 11 Plan [Dkt. 325];

          •   Debtor’s Motion For Order Extending The Time Within Which The Debtor Must
              Assume Or Reject Unexpired Leases Of Nonresidential Real Property [Dkt. 326].

          PLEASE TAKE FURTHER NOTICE that any objections to the Motions must be filed

by Tuesday, March 19, 2019 at 4:00 p.m. (Prevailing Eastern Time), via the Court’s ECF

system.

          PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Hearing by conference call is 1-888-273-3658, passcode: 9247462#. All




1 The last four digits of the Debtor’s federal tax identification number are 7871.
                                                                                The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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callers shall keep their phones muted unless addressing the Court. All callers must identify

themselves and the party(ies) they represent when addressing the Court. Callers shall not place

their phones on hold during the Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the Motions may be accessed through

the case website at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

on PACER, or from the Clerk of the Court.

Dated: March 7, 2019                                 Respectfully submitted,

                                                     JENNER & BLOCK LLP

                                                     By: /s/ Catherine Steege

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                                                     Counsel for the Debtor




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